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                IN THE UNITED STATES DISTRICT COURT
                                                                  [~EC. 5 2022 PM3:22
                  FOR THE DISTRICT OF CONNECTICUT              FILED-U'::DC-CT-HPPTFDF'.D



CONLEY MONK JR

           PLAINTIFF                     CIVIL ACTION 3:22-CV-1503

  V.
UNITED STATES OF AMERICA

           DEFENDANT




         MOTION TO JOIN LAWSUIT AS A CLASS SPECIFICALLY AS A BLACK
MALE VETERAN(S) INCLUDING ALL GULF WAR VETERANS

         MOTION TO ADD MORE DEFENDANT(S) TO INCLUDE LOCKHEED
MARTIN/ LEIDOS INC OWNER OF QTC. THE KINGDOM KUWAIT, IRAQI
AND SAUDI ARABIA AND UNKNOWN CORPORATION THAT SOLD SARIN
GAS TO THE GOVERNMENT OF IRAQI.




My name is Khamani L. Lodge and I am writing as a friend of the Court
but seeking class action status because I will present the true horror
story of abuse of most if not all Black male veterans.




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                               1.

Most Black veterans do not get their benefits compensation until they
are 75 years old and the evidence will prove it. Those who served in
Vietnam just got their compensation. On average it takes Black
veterans 20 years to get their benefits.

                               2.
Most of my complaint will focus on the Atlanta Regional Office. In
1994, a Vietnam veteran Black male around 55 years old came into the
Georgia Department of Labor Veterans employment services. He came
in with his wife and he was never able to work and the wife spoke for
him in that she had to work two jobs for 20 years and she was very
upset. He started crying and felt less than a man because he could not
hold a job. Well, he had three purple hearts and I knew something had
happen to him. He was shot in the head, chest and hip. Helicopter was
shot down, pilots killed and part of helicopter tail fell on him and broke
a lot of bones in his body. When the Atlanta Regional Office was on
730 Peachtree Street, I met with Richard Barnes (Black male) current
employee and he took the information and went to a Black supervisor
and they had to get his records from St. Louis. Three weeks later the
veteran got $400,000.00 in back pay. No one at Walter Reed process
his paperwork and no one at VA helped him. One Black man has to help
"secretly" another black man to get the benefits earned. This is what
we are up against. A Black female would not have helped him. Only a
Black male knows the pain of discrimination. It sexist also.
Discrimination against black males comes from all directions.




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                                   3.
When Black male veterans apply for compensation, we are treated like
we applying for welfare. VA nurses Compensation and Pension
examination will falsify the Black veteran medical conditions and or put
code words like "morbidly obese" or even more sadly if the male is
dark skinned, they will turn down your claim. It's sad but it is real. On
March 17, 1991, in Operation Dessert Storm, I broke my back but I was
not aware that I was expose nerve agent posing Sarin Gas. Its 2022 I
have never seen an Orthopedic doctor at VA as today. One day I had
examination and Dr. Jones was my treating doctor and she told I would
never see one. I had to hire my own Orthopedic Specialist to do all the
work for my disability claim at the BVA. I had vertigo really bad for
years and not knowing what it was until a got a letter for the DOD joint
Letter with the CIA stating I was within 150 miles (Khamisiyah) Iraqi and
we see that it was Dutch, French and German companies that sold the
Sarin Gas which is part of Gulf War Syndrome. A Chicago law firm MM-
Law sued and the chemical causes infertility and vagina like STD from
the soldiers returning home and having deformed children and VA
cover up all of it. U.S government funded studies concluded Sarin Gas
caused Gulf War Syndrome. I filed my claims in 1994 and got my
compensation 2014. I suffered for 20 years because I was a Black
veteran and had to get private doctors for my claim at the BVA. Royal
British soldiers also suffer from the gas and we had to prove the
information with no help from the VA. The scientist Robert Haley,
Gerald Kramer Junhul Xiao Jill A. Dever and John F. Telber the study was
published 11 May 2022. The U S Army Medical Research and Material
Command number grant DAMD 17-01-10741. VA contract VA549-P-
0027, Secretary of Defense Award No. W81XWH-16-1-0740. Till this day
they have not said anything yet. Many veterans and their families
suffer. I don't believe the VA has paid me all of the back pay that was

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entitled to. First, they only gave 50% of my backpay and a year later I
got the other 30,000 dollars after I complain to Obama Senior advisor
Jarrett and got the rest of my money. Almost 100,000.00 in back pay
but the VA cheated me out of $1,000,000.00 in benefits. "The reason
the Regional Office cheat veterans is for their bonus money." It's sad
but it is true. The evidence is there. They knew veterans were poisoned
and could not work and made us suffer to no end. It is no differ than
the "Tuskegee experiment." I am stating that the Justice Department
and Department of Defense knows who produce that Sarin Gas and has
protected them for decades and VA Regional Offices delay veterans
claim from going to the Board of Veterans Appeal for years to denied
compensation and they act like an adversarial operation and instead of
giving the veterans the benefit of the doubt but claims are subject
beyond any doubt standard. So, jobs at the post office are jobs we can't
do and we face even more discrimination in employment under
veteran's preference laws. Nothing is easy for any Black veteran. We
have suffered more than anyone. Now there is a Black female I met at
VA Regional Office and she told me she was brutally rape by a marine
while in the Navy and marine was never prosecuted and she only got
70% disability but if she was white, she would have gotten 100%. The
racism is real. Your years are stolen from you. This is one of the reasons
why the DOD is having a hard time recruiting. The news of the suffering
spreads fast and people have long memories. This is one of the reasons
so many white males are committing suicides at such a high rate in
particular and they used drugs because they can't get the help they
need and their family is relieved of the burden of him unable to provide
and get whatever insurance that is available. The discriminatory
behavior started with the Harlem Hell fighters who never got any
benefits or recognition for winning WWl. That is where it all started.
The Buffalo solider America's Black Army in Cuba defeated Spain not

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Teddy Roosevelt got nothing. We are treated adversely different.
Korean Black veterans are dying and never received a dime for their
injuries. We don't get our benefits like other ever. Now the Department
of Justice is liable to us Gulf War veterans and I mean all of us and some
of the money from Afghanistan funds should be given to the Gulf War
veterans and their families for the real suffering they have to deal with
and some of the homeless combat veterans. 911 families got 1.6 million
per person and because they live in New York they blew it shopping and
demanding more money. Veterans with Gulf War Syndrome suffered
for years and the government knew and now the Department of Justice
can fix some of these problems. These veterans can buy a home and
not be homeless, take care of their families and live above poverty. All
of those veterans who are still sick, still suffering with Sarin Gas, help
us. If the Justice Department has frozen funds of one these government
compensate these veterans. If the Justice Department knows which
companies provided the Sarin gas make them, pay up. This was
Chemical warfare unseen since WWl and much deadlier and the VA
position was and always you have to prove it. I did a C and P
examination and this doctor was from Argentina and he call me a liar in
my face and put in my file I was lying about being exposed to Sarin even
though the DoD and CIA letter stated I was in the vicinity of the gas
explosion. That is how I was treated. I am prepared to state that claim
examiners falsify medical documents and have QTC doctors signed off
on them. Racism is real as a Black male even after combat. Having this
vertigo is really bad and a broken back that I did not find out until 1999.
You can't work, walk or live a normal life. There is no need for the
Justice Department to play this out for years, if the government has
frozen money, compensate those veterans that are sick. That is not a
lot to ask of the Attorney General.



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You can find money for illegal migrants to provide them adjustment to
a new life, it just seems that sick veterans should come first.




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